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§~'“11_ 533
Ryan Lee (SBN: 235879)
Krohn & Moss, Ltd. }2: 00
10474 Santa Monica Blvd., Suite 405
105 Angeles, CA 90025 ’ *"‘ ‘ § z pr_w T
Tel: 323~988-2400 x 1241sz 866-861-1390 931 i:'-!.‘=":",-
rlee@con$umerlawcenter.com
Attomey for Plaintiff`, mo
J'ESSE QUINTANA *"`""
UNITED S'I`ATES DIS'I`RICT COURT,
CENTRAL DISTRICT OF CALIFORNIA,
SOUTHERN DIVISION~SANTA ANA
IESSE QUINTANA, § Case No.: S ACV13_01 47 4 RNB
Plaintiff, ) COMPLAINT
)
v. ) (Unlawful I)ebt Coliection `Practices)

)
COMMERCIAL RECOVERY )
SYSTEMS, INC. )

)

Defendant. )

 

JESSE QUINTANA (Plaintiff), by his attorneys, K-ROHN & MOSS, LTD., alleges the
following against COMMERCIAL RECOVERY SYSTEMS, UC. (Defendant): l
INTR()DUCTION

1. Count I of Plaintiff’§_ Corflplaint is based on the Fair Debt Cotlection Practices Act, 15
U.S.C. 1692 et seq. (FDCPA).

21 Count II of the Plaintiff’s Compiaint is based on Rosenthal Pair Debt Collection
Practices Act, Cal. Civ. Code §1788 et seq. (RPDCPA).

3. Defendant acted through its agents, employees, officers, members, directors, heirs,
successors, assigns, principa}s, trustees, sureties, subrogees, representatives, insurers,
and attorneys.

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JURISDICTION AND V.ENUE
Jurisdiction of this court arises pursuant to 15 U.S.C. 1692k(d), Which States that such
actions may be brought and heard before “any appropriate United States district court
without regard to the amount in controversy,” and 28 U.S.C. 1367 grants this court
supplemental jurisdiction over the state claims contained therein.
Det`endant conducts business in the state of California, and therefore, personal
jurisdiction is established
Venue is proper pursuant to 28 U.S.C. 1391(1))(2).
PARTIES
Plairrtiff is a natural person residing in Anaheirn, lOrange County, California.
Piaintiff is a consumer as that term is defined by 15 U.S.C. 169221(3), and according to
Dei`endants, Plaintiff allegedly owes a debt as that term is defined by 15 U.S.C. 1692a(5)
and Cal. Civ. Code § l788.2(h).
Defendants are debt collectors as that term is defined by 15 U.S.C. 1692a(6) and Cai.
Civ. Code §1788.2(0), and sought to collect a consumer debt from Plaintiff.
Defendant is a Corporation With its headquarters in I)alias, Texas.
FACTUAL ALLEGATIONS
In or around luly of 2013, Defendant placed collection calls to Plaintit`f seeking and
demanding payment for an alleged consumer debt
Plaintiff’s alleged debt owed arises from transactions used for personal, family, and
household purposes
In a telephone conversation on or around lilly 8, 2013, Defendant’s representative stated
that Plaintiff Would be subject to legal action if the alleged debt Was not paid by July 10,
2013.

In or around lilly of 2013, Defendant’s representative “Christopher Jones,” placed a

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VERIFIED COMPLAINT

 

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DEFENDANT VIOLATED THE FAIR ])EBT COLLECTION PRACTICES AC'I`

19. Defendant violated the FDCPA based on the following:

\_ _ / "\_

collection call to Plaintiff’s phone number at 714~363-62XX and left a voicernail
message

ln the voicernail mess-age, Det`endant’s representative “Christopher lones,” failed to
disclose the name of the company placing the call, failed to state that call Was being
placed by a debt collector, and failed to state that the call Was being placed in an attempt
to collect an alleged debt. See Transcribed Voicernail Message attached hereto as
Exhibit A.

In the voicernail message, Defendant’s representative, “Christopher lones,” falsely stated
that he Was calling from the Orange County clerk’s office and stated that a tile Would be
filed against Plaintiff. See Exhibit A.

Defendant is using false, deceptive and misleading means in connection With attempting
to collect a debt by not identifying the purpose of its phone calls or that they are an
attempt to collect a debt.

As a result of the collection calls placed by Defendant to Plaintiff, Plaintiff suffered
embarrassment, humiliation, emotional distress, anguish and mental suffering When

Defendant calls Piaintil`f, Plaintiff feels stress, aggravation, anguish, and anxiety.

COUNT I

a. Defendant violated § 1692d of the FDCPA by engaging in conduct the natural
consequence of vvhich is to harass, oppress, or abuse any person in connection
With the collection of a debt.

b. Defendant violated § 1692d(6) of the FDCPA When Defendant placed telephone
calls without meaningful disclosure of the caller’s identity.

c. Dei`endant violated §1692e of the FDCPA by using false, deceptive or misleading

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against Defendants, COMMERCIAL RECOVERY SYSTEMS, INC., for the following:

 

 

representation vvith the collection of the debt.

d. Defendant violated §1692e(l) of the FDCPA by falsely representing that
Dei`endant was affiliated with Orange County, California.

e. Defendant violated § 1692e(5) of the FDCPA by falsely threatening to take any
action that cannot be taken or is not intended to be taken

t`. Defendant violated § 1692e(10) of the FDCPA by using deceptive means in an
attempt to collect a debt.

g. Defendants violated § 1692e(l l) of the FDCPA by failing to disclose that the call
Was from ahdebt collector. n

WI~HEREFORE, Plaintiff, JESSE QUINTANA, respectfully requests judgment be entered

20. Actual damages to compensate Plaintiff for his embarrassment, hurniliation, mental
anguish, emotional distress, anxiety, inconvenience and the disruption of his day caused
by Defendant in an amount to be determined by the trier of fact pursuant to the Fair Debt
Collection Practices Act, 15 U.S.C. 1692;

21. Statutory damages of $l,000.00 pursuant to the Fair l)ebt Collection Practices Act, 15
U.S.C. 16921<,

22. Costs and reasonable attorneys’ fees pursuant to the Fair Debt Collection Practices Act,
15 U.S.C. 1692l<,

23. Any other relief that this Honorable Court deems appropriate

COUNT 11
DEFENI)ANT VIOLATED THE ROSENTHAL FAIR I)EB’I` COLLECTI()N
PRACTICES ACT

24. Plaintiff repeats and realleges all of the allegations in Countl of Plaintiff’s Cornplaint as
the allegations in Count 11 of Plaintit`f’s Complaint.

25. Det`endant violated the RFDCPA based on the foilowing:

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a. Defendant violated § 1788.17 of the RFDCPA by continuously failing to comply
with the statutory regulations contained Within the FDCPA, 15 U.S.C. § 1692 et
seq.

WHEREFORE, Plaintiff, JESSE QU]NTANA, respectfully requestsjudgment be entered
against l)efendant, COMI\/.{ERCLAL RECOVERY SYSTEi\/IS, INC. for the following
26. Statutory damages oi` $1,000.00 pursuant to the Rosenthal Fair Debt Collection
Practices Act, Cal. Civ. Code §1783.30(1)),`
27. Costs and reasonable attorneys’ fees pursuant to the Rosenthal Fair Debt Collection
Praaices Act, cat civ oode § 1788.30(0), ana

28. Any other relief that this Honorable Court deems appropriate

    

LY SUBMITTED,

_,f
DATED: september 12,2013 K.Ro i- Moss,LTD.

   

 

BYC ' »"`"
gain Leé/
ttorney for Plaintiff
DEMAND FOR JURY TRIAL

 

Plaintiff, JES SE QIHNTANA, demands ajury trial in this case.

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- stats oF CAL£EGRNIA

Pl.aintiff, JESSE';QUB¢TANA, states as follows:

l. l am the Plaintilt"fin this civil proceeding

2. l have rea`d'the: above-entitled civil Coni._plaint prepared by my attorneys and I' believe
that ali-of the facts contained in it are true, to the best of my knowledge infonnation
and bei.iei’t-`orrnetl after reasonable inquiry

3. l believe that this civil 'Complaint is weil grounded in fact and warranted by existing
law er by a good faith argument for the e)'ctensie:_nid modification er reversal of existing
law. l `

'4. l believe that this civil Complaint is not interposed for any improper purpose, such as
to harass any D.efendan_t{s), cause unnecessary delay to any Def'endant(s), or create a
needless increase in the cost of litigation to any Defendant{s_), named in the
Complaint.

5. Iha-ve flied this Contplaint in goed’faith and solely for the purposes set forth in it.

6. Eacli and every exhibit I'liave provided to my attorneys Wllieli has been attached to
this Complaint is-a't:rae_ and correct copy of the original

17 , Exoept for already indicated redactions made by nay attorneys where appropriate, l
have not altered, changed modified or fabricated these exhibits,, except that some of
tire attached exhibits may contain some of my own handwritten notations

Pursuant to 28 U 5 C § 1246(2), l JESSE QIHNTANA hereby declare (or certify
verify or state) under penalty ofperjuiy that lite foregoing is true and//ectm

  

 

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EXHIBIT A

Case 8:13-CV-01474-Cg€~;AN Document 1 Filed 09/20/13 y-Page 8 of 10 Page |D #:12
`\`.`_ _1`: \` j

“Mr. Quintana, my name is Christophcr loncs calling from the Orange County clerk’S
office This is a ca11 to let you know that I’m With a file here to be filed against you, the
client’s name is (unintelligible), it is attached to your social security number Which has
been signed (uointelligible). So, once again, this is a courtesy call in regards to your

issues down here in Orange County (uointelligible).”

CaSe 8:13-0\/- -01474- OJ'C-AN Document 1 Filed 09/20/132 Page 9 of 10 Page |D #: 13
UNITED STA;ES DISTRICT COI}RT, CENTRAL DISTRIC 1 i:)F CALIFORNIA

 

CIVIL COVER SHEE'I`
I (a) PLAINTIFFS (Check box if you are representing yourseif§) DEFENDAN'I`S
IESSE QUINTANA COMMERCIA§. RECOVERY
SYS”§`EMS, INC.

 

(b) Attorneys (Finn Name, Address and 'I`elephone Number. Ifyou are representing

yourself, provide same.)
Kzohn & Moss, Ltd.', Ryan Lee, Esq.

§0474 Sa:ita Monica Blvd., Suite 405; Los Angeles, CA 90025
{323) 988-2400

Attomeys {lf Known)

 

 

II. BASIS OF JURISDICTION (Place an X in one box Ouly.)

of 3 Federa§ Qu@siion (U.s.
Govei'nmcnt Not a Pa.rty)

C'J 1 U.S. Govemmerit Plainf:iff

§ 2 U.S. Govern:nent Defendant

III. CITIZENSH]I’ OF PRINC!PAL PARTIES - For Diversity Cases Only
(Place an X in one box for plaintiff and one for defendant.)

of Pa:ties in Item IlI)

§ 4 Diversity (lndicate Citizensbip

 

PTF DEF PTF DEF
Citizen of 'Ihis State § l § 1 Ineorpozated or Principal Piace § 4 § 4
of Business in this State
Citizen of Another State § 2 § 2 incorporated and Principa§ Placc § 5 § 5
of Bvsiness in Another State
Citizen or Snbject cfa Poreign Country § 3 § 3 Forcign Nation § 6 § 6

 

IV. ORIGIN (Place an X in one box only.)

of 1 original
Proceeding

Appellate Court

§ 2 Removed kern § 3 Remanded from § 4 Reinstated or
Statc Couz“t

Reopezzed

§ 5 Transf`erred from another district (specify}:

§ 6 Melti- § 7 `Ap;)ea§ to Disf.rict
District ludge from
litigation Magisna€e Judge

 

V. REQUESTED IN COMPLAINT: JURY DEMAND: MYes § No {Checi< ‘Yes’ only if demanded in complaint.)
CLASS AC'I`lON under F.R.C.P. 23: § Yes MNO

13 MONEY DEMANDED IN COM?LAIN'I`: S

 

V“I. CAUSE OF ACTION (Citc the U.S. C:`vi] Statute under which yoc are filing end write a brief statement of cause Do not cite jurisdictional statutes unless diversity.)
15 USC 1692 et seq.; Un§awful and Abusive Debt Colleotion Practices

VII. NATURE OF SUIT (Place ma X in one box oniy.)

 

 
   
   

 
  
  

 

 

 

   
   

 

   
 
    
 
 
   

 

 

  

 

 

 

 

   

 

 

 

 

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State Reapport:onment "__r § 710 Fair l,ai)or Standai'cls
A.ntif:mst § 120 Marine 53 319 _M § 510 Motions to Act
Banks and Banking § 130 Miller Act m 315 551'131_8}1@ PT°dllCl Uher Fraod Vacate Sentence § 720 Labor/M‘gmt.
CommercefICC § 140 Negotiab§e fnstru.ment Lfabllll¥ § 371 Trutb in Lending Habeas Corpus Reiations
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Exchange Overpayment of g 360 Other Personal ~ "U`-"’ _ Other food & §820 Copyrights

§ 875 Custome§ Cl'xallengc 12 Veteran’s Benef:ts 131-m § 441 Voting Drug § 830 Petent
USC 3410 ' § 160 Stockholders’ Suits g 352 personal lnjm._ § 442 Ernplcyment § 625 Dmg Related

§ 890 ther Statetory Actions § 190 Other Con¥::act Me{g Malpractice § 443 Houszng/Acco- Seizui"e of "'ig`s`

§ 891 Ag,ricuitu;al Act § 195 Contract?roduct g 355 pe;s°na] mjmy, mmodations Property 21 USC § 861 I~IIA (i395ff)

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§ 893 Environmental Mafters t » anuzy Proéuct Désebilities - § 640 R,R. & Truclc {405(g))

113 894 Energy.Ai_location Act § 210 Land Condemnat§on L§abili Einpioyment § 650 Airlinc Regs § 864 SSID Title XVI

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Access to Justice 113 245 'I`ort Product Liability 5 463 H?jbea$ CO_TP“S‘ § 440 Other Civil or Defendant)

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FOR OFFICE USE QNLY: Case Number;

 

AFI`ER COMPLETING THE FRONT SIDE OF FORM CV~71, COMI’LETE THE I;NF()RMA'I`ION REQUESTED BELOW.

 

cyr/§ (0`5/08)

CIVIL COVER SHEET

Page 1 of 2

Case 8:13-CV-01474-CJ”C1;AN Document 1 Filed 09/20/13 (P`a§ge 10 of 10 Page |D #:14

UNITEI) STA;`IE;S DISTRIC'I` COURT, CENTRAL DISTRIC'[ OF CALIFORNIA
CIV]'L COVER SHEET

VIIl(a). IDENTICAL CASES: Has this action been previously filed in this court and dismissed remanded or closed? t§\.{l\io ij ch
lf yes, list case number($):

 

VIII(I)). RELA'I`ED CASES: Have any cases been previously filed in this court that are related to the present case? i.?{No ij Yes
lfyes, list case number{s):

 

Civil cases are deemed related if a previously filed case and the present case:
{Checl< all boxes that appiy) lf‘_"l A. Arise from the same or closeiy related transactions happenings, or events', or
ill B. Cali for determination of the same or substantially related or similar questions of law and fact', or
ij C. For other reasons would entail substantial duplication of labor if heard by different judges', or
L`_| D. Involve the same patent trademark or copyright gang one of the factors identified above in a, b or c also is present

 

IX. VENUE: (When completing the following informationp use an additional sheet if necessary.)

(a) List the Coimty in this District; Caiifornia Ccunty outside of this i)isl'rict; State if other than California; or Foreign Coent;ry, in Which EACH named plaintiff resides
|IJ Chec§c here if the government its agencies or employees is a named plaintiH`. If this box is checked go to item (b}.

 

County in this District:* California County outside of this Distriet', State, if other than Califorz).ia', or Forcign Country
Orange County {CA)

 

 

(b) List the County irz this District', California County outside of this District‘, State if other than California; or Foreign Country, in Which EACH named defendant resides
ij Check here if the government7 its agencies or employees is a named defendant If this box is ohcclced, go to item (c).

 

County in this District:* Ca]ifcrnia Oounty outside cf this Disnr§et; Statc, if other than Caliform'a; or Forei_gn Coueny
Dalfas, ".{'X

 

 

 

 

{c) List the County in this Dish'ict; Ca§ifornia County cctside of this District; State if other than California; or Foreign Coont:ry, in which EACH claim arose
Note: In land condemnation cases, use the location of the tract oflsnd involved

 

Connty in this Bistrict:* Californr'a County outside oftb.is Distriot‘, Soute, if other than Caliform'a; or Fcreign Conntry

Orangc County {CA) /P
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* Lcs Angeles, 0rsnge, San Bernardino, Riverside, Ventnra, Ssnta»l%
Note: In land condemnation casesl use the location of the tract of land i lve

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xi sIGNArUaa or Arroni\z:ev (oR I>RO PER}; y// L\ pate S@pf@mber 12, 2013

Notice to Counsel/Parties: T'he CV-?l (JS»¢M) Civil Cover Sheet and the information contained herein neither replace nor supplement the filing and service of pleadings
or other papers as required by law. This form, approved by the bicciicial Con€erenee ofthe Unjred States in September 1974, is required pursuant to §,ocal Ruie 3»1 is not filed
but is used by the C§erlc ofthc Cotzrt for the purpose ot`statistics, venue and initiating the civil docket sheet (For more detailed instructions see separate instructions sheet.)

 

Key to Statistical codes relating to Social Security Cases:

Natnre oi'Suit Code Abbreviation Substantive Statement of Cause of Action

861 HIA Aii claims for health insurance benefits (Medicare} under Title 18, Part A, of the Social Security Act, as amended
Alsc, include claims by hospitals skilled nursing facilities, etc., for certification as providers of services under the
program {42 U.S.C. 1935FF{b)}

862 BL All claims for “Blaci\'. Lung°' benefits tinder Titie 4, Pas‘t B, of the Pederal Coal Mine Healtb and Safety Act of 1969.
(30 U,S.C. 923}

863 D§WC All claims filed by insured workers for disability insurance benefits under Title 2 of the Sociaf Security Act, as
mended; plus all claims §iled for chiid‘s insurance benths based on disability (42 U.S.C. 405(,?,))

863 DIWW All claims filed for widows or widowers insurance bene§ts based on disability under Title 2 of the Social Security
Act, as amended (42 U.S.C. 405(§))

864 SSID Al§ claims for supplemental security income payments based upon disability filed under Title 16 o£the Sooial Secarity
Act, as amended.

865 RSl Ail claims for retirement (old age) and survivors benefits under Title 2 of the Social Security Act, as amended (42
U-S-C- (e))

 

CV~71 ({)5/08) CIVIL C()VER SHEET Pa.ge 2 of 2

